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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   HEAD KANDY, LLC,

             Plaintiff/Counterclaim Defendant,

   v.                                                  CASE NO. 23-CV-60345-JB/JMS


   KAYLA MARIE MCNEILL,
             Defendant/Counterclaimant/Third-Party Claimant,
   v.
   JEROME FALIC,
             Third-Party Defendant.
                                                               /

               HEAD KANDY’S AND MR. FALIC’S DAUBERT MOTION
        TO EXCLUDE TESTIMONY AND OPINIONS OF MELIA ARNETT-ARCHIE

           Plaintiff/Counterclaim Defendant Head Kandy LLC (“Head Kandy”) and Third-Party

  Defendant Jerome Falic (“Mr. Falic”), pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

  509 U.S. 579 (1993), move to exclude from the trial of this matter the testimony and opinions of

  Defendant/Counterclaimant/Third-Party Claimant Kayla Marie McNeill’s (“Ms. McNeill”)

  purported expert Melia Arnett-Archie (“Ms. Arnett-Archie”), and in support state:

                               Introduction and Relevant Background

           Ms. McNeill offers Ms. Arnett-Archie, a lawyer, to perform a statistical analysis of Ms.

  McNeill’s contributions to Head Kandy’s online sales via her social media activity. Ms. Arnett-

  Archie attempts to use that statistical analysis to opine on the amount of “affiliate marketer

  commission” to which she believes Ms. McNeill is somehow entitled and on the amount of Ms.

  McNeill’s supposed lost future earnings from an inability to use the social media accounts she

  used to promote Head Kandy during her time as an owner and executive with Head Kandy. Ms.




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  Arnett-Archie’s opinions, however, have absolutely no relevance to any of the claims at issue in

  this case because the compensation to which Ms. McNeill was entitled, and which she claims in

  this case, is entirely set out in her Executive Employment Agreement and Head Kandy’s Operating

  Agreement. There is simply no contractual or legal basis, and no claim by Ms. McNeill in this

  case, for her to be entitled to or recover any “affiliate marketer commission” or lost future earnings

  Ms. Arnett-Archie believes Ms. McNeill could have generated using social media accounts after

  her termination from Head Kandy

           Even if there was a basis or claim for such compensation, Ms. Arnett-Archie is not qualified

  to render the opinions she attempts to render and did not reliably perform any recognized

  methodology to come to them.          Indeed, Ms. Arnett-Archie admittedly has no meaningful

  education, training, or experience in accounting, finance, or statistics, and is in fact merely an

  attorney who recently began a “novel” practice in the “social media law” space, and who has

  certifications as a “Privacy Professional” and “Privacy Manager” and previously served as in-

  house counsel for large corporations advising on “privacy, cybersecurity, and data protection

  laws.” [Tr. at 95:13-16; Report at 13-14]. 1 Nonetheless, Ms. Arnett-Archie, based on misapplied

  or inapplicable financial and statistical principles, opines that, because of Ms. McNeill’s

  “substantial” influence on sales, Ms. McNeill is entitled to (1) $8,581,046.51 in “affiliate marketer

  commission” Ms. McNeill could have earned from 2019 through 2022, and (2) $2,786,478 in

  admittedly “speculative” “lost future earnings” representing “projected revenue” for 2023 and

  2024. [Report at 4]. There is no factual foundation whatsoever for those opinions, no logical

  connection of those opinions to any of the claims or defenses in this case, and no provision in Ms.



  1
    Citations to “Tr.” reference the transcript of the September 4, 2024, Videotaped Deposition of
  Melia Arnett-Archie, cited excerpts of which are attached hereto as Exhibit 1. Citations to
  “Report” reference Ms. Arnett-Archie’s Expert Witness Report, attached hereto as Exhibit 2.


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  McNeill’s Executive Employment Agreement [ECF 187-1] (or anywhere else) suggesting that Ms.

  McNeill is, or would have ever been, entitled to such compensation, even if Ms. Arnett-Archie

  were qualified to and had accurately determined that compensation (she is not and has not).

           Ms. Arnett-Archie’s methods and opinions are almost completely nonsensical, and

  culminate in a meaningless report that lends nothing whatsoever to the resolution of this case. Ms.

  Arnett-Archie’s opinions do not clearly pertain to any of the claims or defenses actually in this

  case. In truth, Ms. Arnett-Archie’s report seems merely designed to confuse the issues and to

  garner sympathy for Ms. McNeill based on her supposedly significant social media contributions

  to Head Kandy’s business during her employment, while completely ignoring the claims and

  underlying facts of this case and, most crucially, the contractual relationships that govern the

  outstanding obligations, if any, between the parties. The Court should therefore exclude Ms.

  Arnett-Archie’s testimony and opinions in their entirety under Daubert.

                                              Argument

           To be entitled to present the opinions of her expert, Ms. Arnett-Archie, Ms. McNeill must

  show first that the testimony and opinions to be offered are “fit” the circumstances of this case by

  having a “valid scientific connection to the pertinent inquiry.” Daubert, 509 U.S. at 591. If they

  do, Ms. McNeill must also establish by a preponderance of the evidence that “(1) the expert is

  qualified to testify competently regarding the matters [s]he intends to address; (2) the methodology

  by which the expert reaches [her] conclusions is sufficiently reliable as determined by the sort of

  inquiry mandated in Daubert; and (3) the testimony assists the trier of fact, through the application

  of scientific, technical, or specialized expertise, to understand the evidence or to determine a fact

  in issue.” City of Tuscaloosa v. Harcros Chemicals, Inc., 158 F.3d 548, 562 (11th Cir. 1998). Ms.

  McNeill cannot satisfy her burden on any prong of the analysis.




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           I.       Ms. Arnett-Archie’s opinions do not fit and are not helpful to the trier of
                    fact because they are methodologically unsound and are wholly divorced
                    from the realities underlying this case and the issues relevant to the claims
                    actually presented.

           For Ms. Arnett-Archie’s opinions to be admissible, Ms. McNeill must show that the

  opinions Ms. Arnett-Archie offers “fit” so as to be helpful to the trier of the fact. Daubert, 509

  U.S. at 591. The “helpfulness” prong “goes primarily to relevance.” Id. Ms. Arnett-Archie’s

  opinions are entirely irrelevant to this case, do nothing whatsoever to aid the factfinder in resolving

  any disputed issue of fact on any of the claims presented in this litigation, and should therefore be

  excluded. Ms. McNeill has asserted in this case claims against Head Kandy for breach of her

  Executive Employment Agreement and breach of the Head Kandy Operating Agreement, and

  asserts that she is due compensation thereunder.          The Executive Employment Agreement

  exclusively governed the terms of Ms. McNeill’s compensation as “Creative Director” of Head

  Kandy. [ECF 187-1 at § 3]. The remaining amount of Head Kandy’s profits to which Ms. McNeill

  was entitled, if any, was set out in the Head Kandy Operating Agreement. [ECF 360-3 at Art. V].

  Finally, any amount to which Ms. McNeill may have been entitled for any social media accounts

  she utilized to promote Head Kandy was set out in the Asset Purchase Agreement between Head

  Kandy and Ms. McNeill’s former company, Lashed Out, LLC. [ECF 360-2 at § 1.1, Bill of Sale

  (p. 33)]. There are no claims by either party for breach of the Asset Purchase Agreement. 2




  2
    While Ms. McNeill has attempted to assert claims against Head Kandy for “Civil Theft” of what
  she claims are her “social media accounts,” those claims are due to be dismissed [ECF 360 at 9-
  11], or are subject to summary judgment, because, among other things, the agreements between
  the parties exclusively govern Ms. McNeill’s entitlements as to her purported social media
  accounts. Regardless, Ms. Arnett-Archie has not even offered any opinions of the ultimate value
  of the social media accounts that are the subject of Ms. McNeill’s Civil Theft claims. [Tr. at 41:7-
  42:18].


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           Nevertheless, Ms. Arnett-Archie ultimately opines, without any cogent basis for doing so,

  that Ms. McNeill is entitled to a “standard affiliate marketer commission” based on a percentage

  of Head Kandy’s annual sales during Ms. McNeill’s employment. [Report at 11]. Ms. Arnett-

  Archie wholly ignores, and in fact did not even consider when formulating her opinions, Ms.

  McNeill’s Executive Employment Agreement, which exclusively governed the terms of Ms.

  McNeill’s compensation, nor any other documents or agreement related to any payments Ms.

  McNeill was ever due from Head Kandy. [Tr. at 28:24-29:9, 37:25-38:14]. In fact, Ms. Arnett-

  Archie admitted that she has no understanding at all of “what the employment relationship was

  between Ms. McNeill and Head Kandy” or of Ms. McNeill’s compensation structure. [Tr. at 32:6-

  8, 32:13-17, 34:4-7, 48:8-13, 50:8-15].

           In reality, Ms. McNeill’s Executive Employment Agreement provides for an annual salary,

  benefits, and a calculable bonus based on the company’s year-over-year increase in net profits, if

  any. [ECF 187-1 at § 3]. Nowhere does the Executive Employment Agreement provide that Ms.

  McNeill is also entitled to compensation as an “affiliate” on top of her compensation as an

  employee and an owner. In fact, Ms. McNeill does not even assert any claim even purporting to

  suggest that she is entitled to a “standard affiliate marketing commission” from 2019 to 2022. And

  with good reason—Ms. McNeill was not even an “affiliate” under Ms. Arnett-Archie’s own

  definition of the term during that time. [Tr. at 79:12-15 (defining “affiliate” as “someone who is

  contacted by a brand to produce content, post content, and use their following count to promote a

  product”)]. Ms. Arnett-Archie’s underlying assumption that Ms. McNeill was ever entitled to be

  compensated as an “affiliate” lacks any basis in fact, is wholly untethered to the circumstances of

  this case, and in fact is flatly contradicted by the terms of the Executive Employment Agreement

  setting forth the terms of Ms. McNeill’s compensation. In sum, Ms. Arnett-Archie’s opinions on




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  that score are completely inappropriate. Therefore, the Court should exclude Ms. Arnett-Archie’s

  opinions and testimony concerning a “standard affiliate marketer commission.” See, e.g., Mich.

  Millers Mut. Ins. Corp. v. Benfield, 140 F.3d 915, 921 (11th Cir. 1998) (affirming exclusion of

  speculative expert opinion lacking rational connection to facts of the case, and explaining

  “[n]othing in either Daubert or the Federal Rules of Evidence requires a district court to admit

  opinion evidence which is connected to existing data only by the ipse dixit of the expert.”)

  (quotation omitted); Cook ex rel. Est. of Tessier v. Sheriff of Monroe Cnty., Fla., 402 F.3d 1092,

  1111 (11th Cir. 2005) (excluding opinions “unsubstantiated by any factual basis”); Bemesderfer v.

  United Parcel Serv., Inc., 2023 WL 6196536, at *6 (M.D. Fla. Sept. 22, 2023) (“generalized

  opinions” that were “untethered” from the actual plaintiff in the case were “not relevant and [were],

  therefore, unhelpful to the jury”).

           Ms. Arnett-Archie goes on to opine that Ms. McNeill suffered lost future earnings after she

  was terminated by Head Kandy, which Ms. Arnett-Archie calculates based on a percentage of what

  she projected to be Head Kandy’s 2023 and 2024 net profits. But again, Ms. Arnett-Archie’s

  unexplained and unfounded assumption that Ms. McNeill was or would ever be entitled to Head

  Kandy’s entire net profits at any point during her employment or ownership is readily belied by

  the Executive Employment Agreement (which provides, inter alia, for a potential bonus calculated

  as “ten percent (10%) of the amount by which the Company’s Net Profit for each such year exceeds

  the Company’s Net Profit for the immediately preceding year” [ECF 187-1 at § 3(b)]) and Head

  Kandy’s Operating Agreement (which discusses the allocation of profits and losses among Head

  Kandy’s members [ECF 360-3 at Art. V]). Moreover, rather than requesting or using Head

  Kandy’s actual financial data to calculate its net profits, Ms. Arnett-Archie simply applies

  rudimentary and unexplained mathematical calculations to reach her projected figures. Thus, these




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  opinions also must be excluded. See, e.g., Benfield, 140 F.3d at 921; Cook, 402 F.3d at 1111;

  Bemesderfer, 2023 WL 6196536, at *6.

           Finally, Ms. Arnett-Archie’s statistical analysis underlying her opinions, as discussed

  below, is so hopelessly flawed that it cannot possibly be helpful to the finder of fact, instead would

  simply cause confusion, and therefore should also be excluded as unhelpful on that basis. See,

  e.g., KW Plastics v. U.S. Can Co., 131 F. Supp. 2d 1289, 1294 (M.D. Ala. 2001) (expert opinion

  excluded when it was “methodologically unsound and unreliable” and connected to the facts of

  the case “only by ipse dixit”); see also Cook, 402 F.3d at 1111 (“[A] trial court may exclude expert

  testimony that is imprecise and unspecific, or whose factual basis is not adequately explained.”)

  (quotations omitted).

           The Court should exclude Ms. Arnett-Archie’s testimony and opinions because they

  wholly lack factual foundation in or connection to the facts of case and, therefore, would be

  unhelpful to the factfinder.

           II.      Even if her opinions were relevant and helpful, Ms. Arnett-Archie is not
                    qualified to render those opinions based on financial or statistical analyses
                    because she lacks education, training, and experience in those specific fields.

           To satisfy the qualification requirement, Ms. McNeill must show that Ms. Arnett-Archie

  has sufficient education, training, or experience to qualify as an expert. See Seamon v. Remington

  Arms Co., 813 F.3d 983, 988 (11th Cir. 2016). Additionally, “if the expert is qualified to testify,

  the subject matter of the testimony must be within the scope of his or her expertise.” Restore

  Robotics, LLC v. Intuitive Surgical, Inc., 2022 WL 19408080, at *2 (N.D. Fla. Feb. 7, 2022).

           Ms. Arnett-Archie’s opinions are premised on her supposed statistical analysis of Head

  Kandy’s sales and social media engagement. However, Ms. Arnett-Archie has no formal, and no

  meaningful, education, training, or experience in finance, accounting, or statistics; indeed, nothing




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  on Ms. Arnett-Archie’s “Expert Witness Qualification Summary” suggests any education or

  training in the type of statistical computations Ms. Arnett-Archie purportedly performed here. [Tr.

  at 94:15-96:19; see generally Report at 13-14]. Ms. Arnett-Archie’s “qualifications” include her

  Juris Doctor obtained in 2006, her “Bachelors of Arts in Government” obtained in 2003, Bar

  licenses obtained in Florida in 2006 and Michigan in 2013, and certifications as an “Information

  Privacy Professional” and “Information Privacy Manager.” [Report at 13-14]. Ms. Arnett-Archie

  admits that she has no relevant academic exposure to statistics beyond mere passing mentions of

  basic statistical concepts in courses focused primarily on other subjects. [Tr. at 90:12-92:9]. Nor

  can Ms. Arnett-Archie point to any specific training or experience she may have in finance,

  accounting, or statistics; at best, when asked about her qualifications, Ms. Arnett-Archie could

  only provide vague and surface-level generalizations that she had performed or, in her practice as

  a lawyer, relied on this type of analysis before. [Tr. at 86:15-90:11]. The “Professional Experience

  Highlights” section of Ms. Arnett-Archie’s “Expert Qualification Summary” shows only that in

  her current role as the founder and principal of her own law firm, she “offers specialized legal

  support with an emphasis on data privacy, intellectual property, and new digital medial law.”

  [Report at 13]. While she and her firm are “dedicated to assisting influencers, content creators,

  and small businesses in risk mitigation and navigating the complexities of social media trends and

  behaviors” [Report at 13], nothing she offered shows from her role as a lawyer she has sufficient

  experience to actually perform any type of statistical analysis.

           The only experience Ms. Arnett-Archie could identify to supposedly qualify her as an

  expert to perform and render opinions on the statistical analysis she attempted to perform in this

  case is that in in her previous role as an in-house lawyer for 3M Corporation and Stryker, she relied

  on, and sometimes attempted to perform herself and supervised others who attempted to perform,




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  some types of statistical analysis to advise her client on “data privacy” and cyber-related issues.

  [Tr. at 87:23-89:19]. A look back to her “Professional Experience Highlights” reveals that while

  at 3M, Ms. Arnett-Archie “formulated a comprehensive privacy and security M&A framework

  and rendered advice on privacy, cybersecurity, and data protection laws.”           [Report at 13].

  Similarly, while an in-house lawyer at Stryker Corporation, Ms. Arnett-Archie “oversaw extensive

  data analytics projects, initiated the development of a global privacy framework, and managed a

  global legal and compliance team, culminating in enhanced privacy analytics and significant risk

  reduction.” [Report at 13]. That Ms. Arnett-Archie may have experience and be qualified to

  render legal advice regarding privacy or cyber security, based on some statistical analyses, does

  not render her qualified to herself perform statistical analysis and offer opinions on it. See Lebron

  v. Sec’y of Fla. Dep’t of Child. & Fams., 772 F.3d 1352, 1368 (11th Cir. 2014) (“Expertise in one

  field does not qualify a witness to testify about others.”); United States v. Frazier, 387 F.3d 1244,

  1261 (11th Cir. 2004) (“Of course, the unremarkable observation that an expert may be qualified

  by experience does not mean that experience, standing alone, is a sufficient foundation rendering

  reliable any conceivable opinion the expert may express.”). Indeed, if Ms. Arnett-Archie’s prior

  experience as a lawyer advising clients based, in part, on some statistical analysis qualified her to

  herself perform, interpret, and render opinions based on statistical analysis, then any lawyer who

  has litigated cases in which statistical analysis was used, or advised clients based, in part, on

  statistical analysis, would be qualified as an “expert” to themselves perform and opine as an expert

  witness in other cases. That cannot be the case.

           It is not surprising that Ms. Arnett-Archie has never before been qualified as an expert in

  any court of law in the areas of expertise relevant to her opinions here, nor in any other area. [Tr.

  at 6:20-23, 94:11-14]. She simply does not have sufficient training, education, knowledge, or




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   experience to be so qualified. For these reasons, Ms. McNeill cannot meet her burden to show that

   Ms. Arnett-Archie is qualified to render the opinions she espouses in this case. See, e.g., Corp.

   Fin., Inc. v. Principal Life Ins. Co., 2006 WL 3365600, at *1 (S.D. Fla. Nov. 20, 2006) (expert

   was not qualified when he had no experience in the subject area of his purported opinion, “had

   never been qualified previously as an expert” with respect to that subject area, and taught courses

   “only incidentally address[ing]” that subject area); McAllister v. Savage Arms Inc., 2023 WL

   10406718, at *4 (N.D. Fla. Oct. 23, 2023) (expert who had “no specific education or experience”

   in the relevant subject matter was not qualified).

            III.     Ms. Arnett-Archie’s opinions are not reliable because they are not based on
                     proper application of financial and statistical methods to the known facts of
                     this case.

            To satisfy the reliability prong, Ms. McNeill must show that the “reasoning or

   methodology” underlying Ms. Arnett-Archie’s testimony “is scientifically valid” and “properly

   can be applied to the facts in issue.” Daubert, 509 U.S. at 592-93; accord Allison v. McGhan Med.

   Corp., 184 F.3d 1300, 1312 (11th Cir. 1999). Ms. Arnett-Archie’s opinions are, at bottom,

   founded on her (flawed) statistical analysis of the supposed relationship between Head Kandy’s

   sales and social media engagement on Head Kandy’s “Kandy Life” Facebook page (which Ms.

   Arnett-Archie, with no basis other than her say-so, attributes entirely to Ms. McNeill). However,

   Ms. Arnett-Archie’s reasoning and purported application of statistical principles to this case are,

   in numerous respects, fatally flawed.

            Ms. Arnett-Archie was unable to explain the process she followed to come up with her

   results, other than to broadly state that she used Microsoft Excel to run an analysis. [Tr. at 139:21-

   142:14]. Indeed, as Head Kandy’s expert explains, Ms. Arnett-Archie failed to “provide[] even

   the minimum amount of information necessary to replicate her analysis or even understand what,




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   in fact, she calculates.” [Expert Report of David W. DeRamus, Ph.D. (“DeRamus Report,”

   attached hereto as Exhibit 3) at ¶ 94].3 See, e.g., In re Zantac (Ranitidine) Prods. Liab. Litig., 644

   F. Supp. 3d 1075, 1236 (S.D. Fla. 2022) (“[The expert] must explain her methodology in a way

   that permits the methodology to be tested and vetted for reliability.”).

            Ms. Arnett-Archie based her analysis on only a subset of selective data points, with no

   objective or coherent explanation for how she chose those points or excluded others, and in fact,

   appears to have selected and based her analysis on only outliers. [Tr. at 73:24-74:13, 76:20-24].

   Ms. Arnett-Archie also failed to explain or account for, and instead simply assumed away, any

   variables outside of social media engagement that might have impacted (and almost certainly did

   impact) sales. [Tr. at 128:12-132:6]. See, e.g., Navelski v. Int’l Paper Co., 244 F. Supp. 3d 1275,

   1301 (N.D. Fla. 2017) (explaining that although an expert’s decision to include or exclude certain

   data points in a statistical model sometimes goes to weight rather than admissibility, sufficiently

   significant flaws, such as those that make the expert’s results “skewed, misleading, and overall

   unreliable” for their intended purpose, are grounds for exclusion).

            Ms. Arnett-Archie provides no explanation for her decision to use a linear model as

   opposed to some other type of model, other than that a linear model (putting the cart well before

   the horse) would “show” the “direct relationship” she was hoping to find. [Tr. at 98:25-99:17].

   Indeed, in so doing, Ms. Arnett-Archie ignored the “first step” described in the very materials she

   claimed to be authoritative, which is “to check the relationship by a scatterplot for linearity” before

   applying linear-based models. [Arnett-Archie Dep. Ex. 9 (attached hereto as Exhibit 4) at 2]. At




   3
      Because the DeRamus Report contains and discusses confidential Head Kandy business
   information going to Dr. DeRamus’s rebuttal of another one of Ms. McNeill’s experts, Daniel
   Korczyk, portions of the DeRamus Report attached hereto are redacted. Those redacted portions
   are not cited nor relied upon in this Motion.


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   bottom, Ms. Arnett-Archie simply forced the methodology she claims familiarity with on to (some,

   but not all of) the data derived from this case, without any real assessment of its suitability for that

   purpose. [Tr. at 118:6-119:5]. See, e.g., In re Zantac, 644 F. Supp. 3d at 1253, 1257 (excluding

   opinions based on a “results-based, conclusion-oriented process” and the “situational science” of

   “appl[ying] whatever method is expedient to get to her desired conclusion”).

            And that reality is evident in the results Ms. Arnett-Archie reaches. Indeed, despite

   repeatedly drawing ostensibly definitive conclusions from her analysis, Ms. Arnett-Archie even

   admits (as is evident from the correlation coefficient of .4188 and p-value of .1543) 4 that the

   correlation she purports to find, and on which she bases her entire report, is “moderate[ly]” strong

   (at best) and is not statistically significant. [Report at 10-11]. See, e.g., In re Abilify (Aripiprazole)

   Prod. Liab. Litig., 2021 WL 4951944, at *7 (N.D. Fla. July 15, 2021) (“While statistical

   significance, alone, is not dispositive on the issue of reliability, federal courts generally require

   that non-statistically significant evidence bear other indicia of reliability to be admissible. Here,

   there is no such other indicia of reliability. To the contrary, as already discussed, the underlying

   dataset on which [the expert’s] statistical analyses were based itself presents reliability and

   helpfulness problems. [The expert] offered no explanation for—or even an acknowledgement

   of—these shortcomings …. Consequently, his … analyses … must be excluded as unreliable and

   unhelpful.”).




   4
      According to the materials Ms. Arnett-Archie provided in response to Head Kandy’s subpoena
   duces tecum, the correlation coefficient (“r”) expresses the linear relationship between two
   variables, and results closer to ±1 indicate stronger correlation, while the p-value (“p”) indicates
   the statistical significance of that correlation, and a low p-value (typically under .05) suggests that
   it is unlikely that the observed correlation occurred by chance. [E.g., Exhibit 4 at 2-3]. Here, the
   results Ms. Arnett-Archie reaches show a weak/moderate positive correlation, but the high p-value
   suggests that her opinions based thereupon are unreliable. [See DeRamus Report at ¶ 88].


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            Undeterred, Ms. Arnett-Archie proceeds to make incoherent observations based on her

   analysis that readily demonstrate her lack of understanding of the methodology she purports to use

   and her misapplication of statistical principles to this case. Ms. Arnett Archie finds a “perfect

   negative correlation” (r = -1.0) between engagement and sales after Ms. McNeill’s employment

   [Report at 11], which result is nonsensical in real world conditions [DeRamus Report at ¶ 87] and

   has no useful application given Ms. Arnett-Archie had and considered only incomplete sales data

   for those years and apparently simply used her own “projected” figures that she knew would yield

   a correlation [Report at 7; Tr. at 143:6-147:19]. Ms. Arnett-Archie also purports to calculate

   correlation statistics from individual data points representing individual days [Report at 9-10],

   which is impossible since a correlation analysis (and the numerical results therefrom) inherently

   requires multiple observations to generate any kind of result [DeRamus Report at ¶ 86]. These

   opinions underscore the unreliability (and the unhelpfulness) of Ms. Arnett-Archie’s analysis, and

   demonstrate that Ms. Arnett-Archie’s opinions and testimony should be excluded. See, e.g.,

   McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1243 n.8 (11th Cir. 2005) (“Although the court

   understands that Daubert focuses on the methodology used to derive opinions rather than on the

   accuracy of the opinion, when the opinions clearly demonstrate something about the expert’s

   methodology, as in this case, the court can draw inferences about the methodology from the

   opinions.”).

            Ms. Arnett-Archie then used that flawed statistical analysis as the basis (without any

   explanation beyond her mere say-so) to attribute all of Head Kandy’s sales from 2019 to 2022 to

   Ms. McNeill’s social media activity, and used that assumption to claim (again, without any

   cogently explained basis for doing so) that Ms. McNeill was entitled to an “affiliate marketer

   commission” at the “standard rate” of 20% applied to all of Head Kandy’s sales for the entire




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   period of 2019 through 2022. [Report at 11]. Ms. Arnett-Archie also purports to project Head

   Kandy’s 2023 and 2024 sales by assuming without any explanation that Head Kandy’s sales would

   also grow linearly, and then proceeds to attribute all of those sales to Ms. McNeill as well, assume

   a 10% net profit margin without any foundation for doing so, and claim that Ms. McNeill

   experienced “lost future earnings” in the amount of Head Kandy’s projected profits in 2023 and

   2024. [Report at 12]. That supposed “methodology” does not come close to passing muster under

   the Daubert standard. See, e.g., Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in

   either Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence

   ... by the ipse dixit of the expert.”); United States v. Azmat, 805 F.3d 1018, 1042 (11th Cir. 2015)

   (“A district court cannot simply accept that an opinion is reliable because the expert says that his

   methodology is sound.”). Indeed, Ms. Arnett-Archie herself even admits that her ultimate opinions

   are purely “speculative.” [Report at 4].

            In sum, no proven, properly applied, or even identifiable methodology underlies any of

   Ms. Arnett-Archie’s conclusions, which the Court should exclude in their entirety.

                                              Conclusion

            For the above reasons, Head Kandy and Mr. Falic respectfully request that the Court

   exclude Ms. Arnett-Archie’s testimony and opinions from this case in their entirety, and order such

   other and further relief the Court deems appropriate.

                    CERTIFICATE OF LOCAL RULE 7.1(A)(3) CONFERRAL

            I HEREBY CERTIFY that on November 7, 2024, counsel for Head Kandy conferred via

   Zoom with counsel for Ms. McNeill, and counsel for Ms. McNeill advised that Ms. McNeill

   opposes the relief requested herein.




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                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on November 18, 2024, I filed the foregoing with the Clerk of
   the Court by using the CM/ECF system, which will send notice of this filing to: Laura E. Burgess,
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